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UNITED STATES DISTRICT COURT

Southern District of Florida
West Palm Beach Division

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v.
TRAVELL KINDAY JONES Case Number: 9:18-CR-80076-005

USM Number: 18500-104

Counsel For Defendant: Paul Petruzzi
Counsel For The United States: Mark Dispoto
Court Reporter: Pauline Stipes

The defendant pleaded guilty to count(s) 1 of the Superseding Indictment.

The defendant is adjudicated guilty of these offenses:

 

 

 

 

 

 

 

 

TITLE & SECTION NATURE OF OFFENSE OFFENSE. COUNT
_SoarT—vTwwe ENDED

21:846 and 841(a)(1), Conspiracy to possess with intent to distribute 1 04/20/2018 1
(b)(1)(A)G) kilogram or more of heroin and 5 kilograms or more

 

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984. ,

Count(s) 8 is dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

Date of Imposition of Sentence: 3/14/2019

obin L. Rosenberg CY

United States District Judge

Date: S€ [19

 

 
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DEFENDANT: TRAVELL KINDAY JONES
CASE NUMBER: 9:18-CR-80076-005
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 86 months as to count one to run concurrently with the sentence yet to be imposed in
2018-CR-00110 in the Middle District of Florida.

The court makes the following recommendations to the Bureau of Prisons: that the defendant be permitted
to participate in the RDAP program. The Court further recommends that the defendant be incarcerated in
a facility in Florida.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

 

UNITED STATES MARSHAL

 

DEPUTY UNITED STATES MARSHAL
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DEFENDANT: TRAVELL KINDAY JONES
CASE NUMBER: 9:18-CR-80076-005
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen

days of each month;

The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
other acceptable reasons;

6. The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7, The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9, The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer;

10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband observed in plain view of the probation officer;

11. The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court; and

13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s

criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to

confirm the defendant’s compliance with such notification requirement.

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Bh WwW
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DEFENDANT: TRAVELL KINDAY JONES
CASE NUMBER: 9:18-CR-80076-005
SPECIAL CONDITIONS OF SUPERVISION
Association Restriction - The defendant is prohibited from associating with the co-defendants in the instant
offense or in the related case, while on supervised release.

Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a
reasonable manner and at a reasonable time by the U.S. Probation Officer.

Required Child Support - The defendant shall comply with the terms and conditions ordered by the Department
of Revenue, for the State of Florida, in docket number 2009-DR-000464; 2003-DR-009759; 2008-DR-004517;
and 2006-DR-008606, requiring payments for the support and maintenance of the children, referenced in each
case.

Substance Abuse Treatment - The defendant shall participate in an approved treatment program for drug and/or
alcohol abuse and abide by all supplemental conditions of treatment. Participation may include
inpatient/outpatient treatment. The defendant will contribute to the costs of services rendered (co-payment) based
on ability to pay or availability of third party payment.
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DEFENDANT: TRAVELL KINDAY JONES
CASE NUMBER: 9:18-CR-80076-005
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $100.00 $0.00 $0.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned
payment, unless specified otherwise in the priority order or percentage payment column below. However,
pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

NAME OF PAYEE TOTAL LOSS* RESTITUTION ORDERED

 

 

 

 

 

 

 

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.

** A ssessment due immediately unless otherwise ordered by the Court.
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DEFENDANT: TRAVELL KINDAY JONES
CASE NUMBER: 9:18-CR-80076-005
SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as
follows:

A. Lump sum payment of $100.00 due immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

This assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

U.S. CLERK'S OFFICE

ATTN: FINANCIAL SECTION

400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716

The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and
the U.S. Attorney's Office are responsible for the enforcement of this order.

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate.

CASE NUMBER
DEFENDANT AND CO-DEFENDANT NAMES TOTAL AMOUNT
(INCLUDING DEFENDANT NUMBER)

 

JOINT AND SEVERAL
AMOUNT

 

 

 

 

 

The Government shall file a preliminary order of forfeiture within 3 days.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
(4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of
prosecution and court costs.
